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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF LOUISIANA
                                    MONROE DIVISION


    STATE OF LOUISIANA,            STATE    OF
    MISSOURI, et al.,

           Plaintiffs,

    v.                                             No. 3:22-cv-01213-TAD-KDM

    JOSEPH R. BIDEN, JR.,
    in his official capacity as President of the
    United States, et al.,

           Defendants.




     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
    AND FOR LEAVE TO AMEND THE COMPLAINT TO ADD CLASS ALLEGATIONS
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          Defendants contend that their federal censorship activities are so widespread, diffuse, and

   disconnected that this case can only be litigated through thousands of individual lawsuits against

   dozens upon dozens of separate Defendants. Doc. 244, at 9-11. The evidence—which Defendants

   studiously ignore—tells a different story. It demonstrates a heavily interconnected web of federal

   censorship activities—a federal “Censorship Enterprise”—that affects all class members. Rule

   23(b)(2) is tailor-made to address such situations of massive, widespread civil-rights violations.

                                             ARGUMENT

   I.     The Proposed Classes Are Ascertainable and Precisely Defined.

          Defendants argue that the class definitions are “insufficiently precise.” Doc. 244, at 7.

   This is incorrect. “[A]scertainability requires only that the court be able to identify class members

   at some stage of the proceeding.” Vita Nuova, Inc. v. Azar, No. 4:19-CV-00532-O, 2020 WL

   8271942, at *3 (N.D. Tex. Dec. 2, 2020) (quoting Frey v. First Nat’l Bank Sw., 602 F. App’x 164,

   168 (5th Cir. 2015) (citations omitted)). A class definition “is not overly vague” when it is “easily

   defined under the plain meaning of its composite terms.” Id. Both classes are precisely defined.

          First, Defendants argue that the word “after” in the definition of Class 1 is vague. Id. Not

   so. “After” means “following in time.” After, Merriam-Webster Online, at https://www.merriam-

   webster.com/dictionary/after. Defendants argue that “after” is “vague” because it is supposedly

   “unclear whether the act of flagging the speech must cause the moderation decision.” Doc. 244,

   at 7. But “after” means “following in time,” not “caused by,” so that vagueness does not exist.

          Next, Defendants argue that the word “flag” is too vague to understand. The dictionary

   disagrees. To “flag” means “to mark or identify with or as with a flag.” Flag, Merriam-Webster

   Online, at https://www.merriam-webster.com/dictionary/flag. In fact, Defendants themselves




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   repeatedly use the word “flag” to describe calling platforms’ attention to content for censorship. 1

   Defendants also argue that it is unclear whether “flagging” includes only “particular social media

   posts” or “general content.” Doc. 244, at 7. This argument is meritless. Both individual posts and

   broader issues or narratives can be “flagged,” as Defendants’ own usage shows. Compare Doc.

   214-1, ¶ 34, ¶ 147; with id. ¶ 481, ¶ 1179. Next, Defendants argue that it is unclear whether

   “flagging” must occur in a “bilateral communication.” Doc. 244, at 7. But nothing in the above-

   quoted definition of “flag” limits “flagging” to bilateral communications only; content is “flagged”

   if is “mark[ed] or identif[ied] … as with a flag.” That is the term’s plain meaning.

          Next, Defendants argue that the phrase “for suppression” is vague. “Suppression” is clearly

   defined in the proposed Third Amended Complaint and prior Complaints. See Doc. 84, ¶ 132;

   Doc. 227-10, ¶ 131. “For” is “used as a function word to indicate purpose,” “used as a function

   word to indicate an intended goal,” and “used as a function word to indicate the object or recipient

   of a[n] … activity.”      For, Merriam-Webster Online Dictionary, at https://www.merriam-

   webster.com/dictionary/for. Thus, content is flagged “for suppression” whenever the objective

   content and context of the communication indicates that that content is to be considered for

   censorship or suppression by the platforms. See id. Plaintiffs’ evidence abounds with such

   communications flagging speech “for suppression.” See, e.g., Doc. 214-1, ¶¶ 34, 36, 38, 168, 481,

   1081. Contrary to Defendants’ suggestion, the class definition does not require probing into “a

   Defendants’ subjective intention in flagging a post,” nor does it require “that the Defendant




   1
     See, e.g., Doc. 214-1, ¶ 34 (Clarke Humphrey: “Flagging Hank Aaron misinfo”); ¶ 43 (Rob
   Flaherty: “Do you have a sense of how many are being flagged…”); ¶ 147 (Psaki: “We’re flagging
   problematic posts for Facebook…”); ¶ 158 (Psaki); ¶ 326 (Surgeon General Murthy); ¶ 481 (Carol
   Crawford: “here are two issues that we are seeing a great deal of misinfo on that we wanted to flag
   for you all”); ¶¶ 490, 495 (Crawford); ¶ 811 (NIAID); ¶ 923 (Elvis Chan: “The FBI flagged the
   NAEBC site….”); ¶ 1096 (Lauren Protentis: “steps for flagging … MDM content”).
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   verbally request the post’s ‘suppression.’” Doc. 244, at 7. All that is required is that the objective

   content and context of the communication indicate that the content is being flagged for possible

   censorship by the platform—i.e., “for suppression.” See Doc. 227-10, ¶ 131.

           As to the definition of Class 2, Defendants argue that the term “induced” is vague. Doc.

   244, at 8. Again, this is meritless. To “induce” is “to move by persuasion or influence,” or to

   “bring about by influence or stimulation.” Induce, Merriam-Webster Online Dictionary, at

   https://www.merriam-webster.com/dictionary/induce. Defendants argue that this term is unclear

   because it does not clarify whether it includes only those changes that were specifically requested.

   Doc. 244, at 8. Not so. All changes that are “induced,” i.e., brought about by Defendants’ actions,

   are included within the meaning of that word. “[S]pecifically request[ing]” a change is not the

   only way of “inducing” it, and nothing in the definition suggests this artificial limitation.

           Next, Defendants argue that the phrase “enforcement practice” is vague because it might

   include either “a discrete period of time,” or “a longer period of time.” Doc. 244, at 8. Again, this

   is incorrect. A “practice” is a “repeated or customary action,” or a “usual way of doing something.”

   Practice,      Merriam-Webster          Online        Dictionary,      at        https://www.merriam-

   webster.com/dictionary/practice. The definition does not require a “practice” to be of a particular

   length. Both short-lived and longstanding “practices” fall within the definition, so long as they

   are “repeated,” “customary,” or “usual” while occurring. See id.

           Next, Defendants argue that the phrase “or will” is ambiguous. Doc. 244, at 8. “Or” is “a

   function word to indicate an alternative,” and “will” is an “auxiliary verb … used to express

   futurity.”    Or, Will, Merriam-Webster Online Dictionary,                  at   https://www.merriam-

   webster.com/dictionary/or, /will. The classes thus include members who are not yet, but will

   become, victims of Defendants’ censorship in the future. See id. Rule 23(b)(2) classes are often



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   defined to include such future members. See, e.g., Jack v. Am. Linen Supply Co., 498 F.2d 122,

   124 (5th Cir. 1974); Pederson v. Louisiana State Univ., 213 F.3d 858, 868 (5th Cir. 2000).

          Finally, Defendants argue that the terms “friends with” and “otherwise connected to” might

   refer to “just standard friendships.” Doc. 244, at 9. Not so. The definition includes “social-media

   users who … follow, subscribe to, are friends with, or are otherwise connected to the accounts of

   users” who are victims of censorship. Doc. 227-1, at 5 (emphasis added). In this context, both

   “friends with” and “otherwise connected to” plainly refer to social-media connections.

   “[O]therwise connected to the accounts of users,” id. (emphasis added), refers to connections with

   social-media accounts, not “standard friendships.” Likewise, “friends with … users” plainly refers

   to social-media connections, like every other item on the same list. See ANTONIN SCALIA AND

   BRYAN A. GARNER, READING LAW: THE INTERPRETATION OF LEGAL TEXTS § 31, at 195 (2012)

   (“[W]ords grouped in a list should be given related meanings.”) (the “associated-words canon”).

   II.    The Proposed Class Definitions Satisfy Commonality.

          Next, Defendants argue that the proposed classes fail to satisfy commonality. See Doc.

   244, at 9-20. This is incorrect. For commonality to be satisfied, the class members’ “claims must

   depend upon a common contention” that “is capable of classwide resolution—which means that

   determination of its truth or falsity will resolve an issue that is central to the validity of each one

   of the claims in one stroke.”      Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

   Commonality is satisfied where there is “some glue holding the alleged reasons for all those

   decisions together,” such that “examination of all the class members’ claims for relief will produce

   a common answer to the crucial question why was I disfavored.” Id. at 352. Notably, for Rule

   23(b)(2) classes, only one such common question is required. Id. at 359.




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          Here, there are not just one, but many such common questions. First and foremost, all

   Defendants’ federal censorship activities “occur[] against the backdrop of a steady and ongoing

   drumbeat of public threats from senior federal officials who demand greater censorship from

   social-media platforms and threaten adverse legal consequences … against the platforms if they

   do not increase censorship of disfavored viewpoints.” Doc. 214, at 15; see also Doc. 214-1, ¶¶ 1–

   30. Plaintiffs contend that this constant backdrop of public threats—including threats from

   Executive Branch officials such as President Biden, Jennifer Psaki, and Kate Bedingfield, Doc.

   214-1, ¶¶ 19-30—renders coercive Defendants’ various actions of demanding, pressuring,

   cajoling, and colluding with social-media platforms to suppress speech. Doc. 214, at 17. This

   issue raises common factual questions—such as whether this campaign of threats occurred, and

   whether it had a coercive effect on the social-media platforms. See Doc. 214-1, ¶¶ 945-961 (Elvis

   Chan attesting that such pressure has a coercive effect on platforms); ¶ 1234 (Alex Stamos making

   similar statements). It raises a common legal question – whether such threats render Defendants’

   conduct unlawfully coercive. See Doc. 214, at 17-18. This issue alone satisfies commonality.

          There are many similar common factual and legal questions. The White House engaged in

   an egregious public and private pressure campaign to procure the censorship of disfavored

   viewpoints. Doc. 214, at 8-10; Doc. 214-1, ¶¶ 31-211. The Surgeon General and his staff

   conducted a similar pressure campaign in coordination with the White House. Doc. 214, at 10-13;

   Doc. 214-1, ¶¶ 212-425. Dr. Fauci and the FBI engaged in elaborate campaigns of deception to

   induce social-media platforms to censor disfavored content and viewpoints, such as the lab-leak

   theory and the Hunter Biden laptop story. See Doc. 214, at 19-27; Doc. 214-1, ¶¶ 596-808, 840-

   852 (Dr. Fauci); Doc. 214, at 27-29; Doc. 214-1, ¶¶ 868-904 (FBI). All these campaigns raise

   common factual questions, such as whether and how such campaigns occurred; and common legal



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   questions, such as whether such conduct was unlawful. Likewise, the CDC’s collusion with

   platforms to censor disfavored viewpoints, Doc. 214, at 31-33, and the FBI’s and CISA’s

   longstanding collusion with platforms on censorship, id., at 34-39, raise common questions of fact

   about the occurrence of such conspiracy and collusion, and common questions of law regarding

   whether these agencies’ collusion violates the First Amendment, see Doc. 214, at 29-31. CISA’s,

   the GEC’s, and other federal officials’ involvement with the Election Integrity Partnership and the

   Virality Project, id. at 42-51, raises common questions of fact about the nature of federal-official

   involvement in such joint public-private censorship enterprises, and common questions of law

   about whether these arrangements violate the First Amendment. See id. at 41-42. And so forth.

          This case, therefore, is the antithesis of Wal-Mart v. Dukes, on which Defendants heavily

   rely. In Wal-Mart, the Supreme Court engaged in an extensive, careful factual analysis to conclude

   that Wal-Mart’s putative liability for discrimination against each class member would turn, almost

   entirely, on individualized questions that were not common to the class. Wal-Mart, at 564 U.S. at

   351-58. Here, the opposite is true. Most critical questions associated with liability turn on facts

   and legal questions that are not dependent on an individualized, member-specific determination,

   but are the same for every class member. See supra. In fact, the first 334 pages and 1,365

   paragraphs of Plaintiffs’ Proposed Findings of Fact raise common factual questions whose

   resolution does not vary by class member. See Doc. 214-1, at 1-334, ¶¶ 1–1,365. And Plaintiffs’

   legal arguments raise at least five common legal questions about federal officials’ responsibility

   for social-media censorship, among many others. Doc. 214, at 4-8, 14, 18-19, 29-31, 41-42.

          In arguing to the contrary, Defendants contend that each Defendant’s conduct must be

   viewed in isolation, so that a class member affected by (for example) the White House’s censorship

   would not share common issues with a member affected by CISA’s censorship, etc. Doc. 244, at



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   9-11. This argument fails for three reasons. First, even if it were true, the “backdrop” of public

   threats rendering all Defendants’ conduct unlawfully coercive raises questions of fact and law

   common to every class member, as discussed above. See Doc. 214, at 15, Doc. 214-1, ¶¶ 1-30.

          Second, both classes are defined to include audience members of social-media speech, not

   just speakers. Each class representative has a strong interest in following uncensored discourse on

   social media, free from federal censorship, regardless of which federal Defendant or topic of

   discourse is involved. See Doc. 227-5, ¶¶ 3-5 (Bhattacharya); Doc. 227-6, ¶¶ 3-5 (Kulldorff); Doc.

   227-7, ¶¶ 3-6 (Kheriaty); Doc. 227-8, ¶¶ 4-7 (Hoft); Doc. 227-9, ¶¶ 3-6 (Hines). Through them,

   class members assert an interest in being able to read and follow social-media speech affected by

   the censorship activities of all Defendants, not just the specific Defendants who have induced

   platforms to censor their particular speech. Thus, the common factual and legal questions

   surrounding the censorship campaigns of each federal Defendant are common to both classes,

   because both classes are defined as classes of potential audiences, as well as speakers.

          Third, by treating each Defendants’ censorship conduct as occurring in isolation from each

   other, Defendants overlook extensive evidence of the interconnected nature of the federal

   censorship activities. For example, the White House’s pressure campaign is closely integrated

   with the Office of Surgeon General, as the OSG participates in the very same pressure campaign

   as the White House, Doc. 214-1, ¶ 212. Likewise, the censorship campaign of the CDC and the

   Census Bureau draws directly from White House pressure. Id. ¶ 426. NIAID and NIH censorship

   efforts are intertwined and reinforced by CDC. Id. ¶ 827. CISA, FBI, DOJ, ODNI, and other

   federal agencies are jointly involved in pressuring and colluding with platforms, even participating

   in the same meetings, the same collusive activities, and the same campaigns of pressure and

   deception. Id. ¶¶ 861-866. CISA, the FBI, and other federal law-enforcement and national-



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   security agencies colluded on the suppression of the Hunter Biden laptop story. Id. ¶¶ 880-894.

   NIAID and NIH, through their directors Dr. Fauci and Dr. Francis Collins, conspired together on

   a series of censorship campaigns, including relating to the lab-leak theory and the Great Barrington

   Declaration. Id. ¶¶ 596, 598-756, 777-808. NIAID is embedded in the White House’s censorship

   activities, and Dr. Fauci reinforced the White House’s covert and overt attempts to deplatform

   Alex Berenson. Id. ¶¶ 596, 840-852. CISA and the GEC effectively coordinate both with each

   other and with private entities in a massive surveillance and censorship project through the

   Election Integrity Partnership. Id. ¶¶ 1132, 1135, 1153-54, 1175, 1197. OSG, the CDC, and other

   federal officials coordinate with each other and with the same private entities as CISA and the

   GEC through the Virality Project. Id. ¶¶ 1279, 1284. High-level congressional staffers coordinate

   with the FBI on pressuring platforms to increase censorship in secret meetings conducted in Silicon

   Valley. Id. ¶¶ 950-958. The White House’s campaign of public threats against platforms

   demanding greater censorship, reinforced by its political allies in Congress and other senior federal

   officials, grants coercive force to all the censorship efforts of all the federal agencies involved. Id.

   ¶ 1-30. And so forth. The evidence demonstrates an extensively integrated and interrelated

   scheme of censorship by all Defendants “across the federal enterprise.” Doc. 227-10, ¶ 285.

   III.    All Class Members Will Benefit From a Single Injunction.

           Rule 23(b)(2) provides that a “class action may be maintained if … the party opposing the

   class has acted or refused to act on grounds that apply generally to the class, so that final injunctive

   relief or corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R.

   Civ. P. 23(b)(2). Defendants argue that “different sets of members will allegedly be affected by

   different Defendants in different ways, and so each would be ‘entitled to a different injunction.’”

   Doc. 244, at 21 (citing Wal-Mart, 564 U.S. at 360). This is incorrect for multiple reasons.



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         First, when contending that each class member would be entitled to a “different injunction,”

 Wal-Mart, 564 U.S. at 360, Defendants ignore the injunction that Plaintiffs are actually requesting.

 See Doc. 214, at 67-68. Plaintiffs seek an injunction that would prevent Defendants and those

 acting in concert with them “from taking any steps to demand, urge, encourage, pressure, coerce,

 deceive, collude with, or otherwise induce any social-media company or platform for online speech

 … to censor, suppress, remove, de-platform, suspend, shadow-ban, de-boost, deamplify, issue

 strikes against, restrict access to, demonetize, or take any similar adverse action against any

 speaker, content, or viewpoint expressed on social media.” Doc. 214, at 67-68. This single

 injunction will redress, at least in part, the censorship injuries of all class members of both classes,

 including both speakers and audience members. Defendants never contend otherwise, or even

 address Plaintiffs’ proposed injunction. See Doc. 244, at 21-23. The omission is glaring.

         Moreover, Plaintiffs’ proposed injunction undermines Defendants’ arguments.               First,

 Defendants argue that “different sets of members will allegedly be affected by different Defendants

 in different ways.” Doc. 244, at 21. Defendants overlook extensive evidence to the contrary,

 demonstrating an interconnected federal censorship enterprise, as discussed above. See supra.

 Moreover, the injunction sought demonstrates that there is a fundamental commonality among all

 the plaintiffs’ injuries, such that a single injunction will address and protect all of them—i.e., an

 injunction prohibiting Defendants from communicating with social-media platforms to pressure,

 coerce, collude with, or deceive them into censoring or suppressing speech on social media. See

 Doc. 214, a 67-68. Defendants contend that a class member injured by the CDC’s colluding with

 platforms would not be entitled to an injunction against the other Defendants, Doc. 244, at 21-22,

 but this argument overlooks both the breadth of the First Amendment interests at stake and all

 class members’ interests as potential audiences of free speech on social media. As noted above,



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 the CDC’s censorship activities are closely intertwined with the those of the other Defendants; and

 the class members’ interests as potential audiences of free speech on social media are broader than

 the speech targeted by any individual agency.

        Next, Defendants object that Plaintiffs seek “a broader injunction on behalf of many class

 members who may oppose Plaintiffs’ lawsuit and requested relief, but who cannot opt out.” Doc.

 244, at 22. This concern is meritless. As the D.C. Circuit has noted, “[w]hen a challenged policy

 is generally applicable to the class for purposes of Rule 23(b)(2), the history of the Rule confirms

 the propriety of certifying the class even if some members may be uninterested in pressing the

 claims. The Advisory Committee explained that a challenged action ‘is directed to a class within

 the meaning of this subdivision even if it has taken effect or is threatened only as to one or a few

 members of the class.’” J.D. v. Azar, 925 F.3d 1291, 1315 (D.C. Cir. 2019) (emphasis added).

 IV.    Plaintiffs’ Request for Amendment and Class Certification Is Timely.

        Finally, Defendants argue that Plaintiffs were supposedly “dilatory” in seeking to add class

 allegations. Doc. 244, at 25. Not so. Plaintiffs moved for leave to amend and class certification

 at the conclusion of preliminary-injunction related discovery, i.e., as soon as the relevant proof

 was available through expedited discovery. This is the most natural and appropriate juncture to

 seek class certification, and it compares favorably to the timing of many other requests for

 certification that were granted. See Doc. 227-1, at 23-24. Defendants make no plausible claim of

 prejudice from the supposed delay; nor could they, as merits discovery has not even commenced.

                                          CONCLUSION

        The Court should grant Plaintiffs’ Motion for Class Certification and for Leave to File a

 Third Amended Complaint for the Limited Purpose of Adding Class Allegations, Doc. 227.




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  Dated: April 18, 2023                        Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that, on April 18, 2023, I caused a true and correct copy of the foregoing

 to be filed by the Court’s electronic filing system, to be served by operation of the Court’s

 electronic filing system on counsel for all parties who have entered in the case.

                                                       /s/ D. John Sauer




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